UNI'I`ED S'I`ATES DISTRICT COUR'I`
FOR THE WESTERN I)ISTRICT OF MISSOURI

HOEFER WYS(}CKI ARCHITECTS, LLC,
P}aintiff,

V.

CARNEGIE MANAGEMENT &
DEVELOPMENT C{)RPORATION
Serve:

Valerie L. Tofbert, Registered Agent
27500 ])etroit Road, Suite 300
Westlake, Ohio 44145.

Case No. 4:11-CV»00678

and

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FEDCAR COMPAN¥ LTD. )
Serve: )
Gec)rge J. Papandreas, Registered Agent )
27500 Den~oit Road, 3"‘ mer )
Westlake, Ohio 44145 )
)

and )
)

RICHARD FLEISCHMAN + )
PARTNERS ARCHITECTS, INC. )
Serve: )
Richard Fleishman, Regis€ered Agent )
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961.9 Lakeshore Blvd.
Bratehahl, Ohio 44!€)8

and
WESTLAKE, REED, LESKOSKY, LTI).
Serve:
ACME Agent, Inc., Registered Agent
41 South High Street, Suite 2800
Coiumbus, Ohio 43215

Defendants.

COMPLAIN'I` FOR C‘OPYRIGH'I1 INFRINGEMENT

COMES NOW Hoefer Wysocki Architects, LLC (“Plaintifi”), by and through its

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attorneys, Norris & Kepiinger, LLC, and for its complaint against defendants Carnegie
Managernent & Developrnent Co. (“Carnegie”), Fedcar Cornpany Ltd. (“Fedcar”), Richard
Fleischrnan + Partners Architects, hic. (“RFPA”) and Westlake Reed Lesl<osi<y (“WRL”)
(coilectively referred to herein as “Defendants”), alleges and states as foilows:

Jurisdiction and Venue

l. This is an action for copyright infringement arising under the Copyright Act, 17
U.S.C.§ 101 etseq.

2. This Court has original and exclusive subject matter jurisdiction of this action
under 28 U.S.C. §§ 133i and i338(a) because the action arises under the Copyright Act.

3. ri“his Conrt has personal jurisdiction over Defendants pursuant to Mo. Rev. Stat. §
506.500.1(3) as Defendants committed a tortious act Within the State of Misscuri by infringing
Plaintifi`s copyright within the state of Missonri. Moreover, on information and belief,
defendants Carnegie and Fedcar soiicit, transact and do business Within the state of Misscnri.
Specificaliy, as more fully set out beiow'? after the construction contract between the GSA and
BC Deveiopnient was terminated, Carnegie and Fedcar, while using the services of defendants
RFPA and WRL, entered into negotiations With BC Deveiopinent in Missouri to co~develop the
new FBI field office Plaintifi”s claims arise out of and are related to this conduct, Which gives
rise to personal jurisdiction over E)efendants in i\/iissouri.

4. Venue is proper in this judiciai district pursuant to 28 U.S.C. §§ 139l(b)(2) and
l400(a) since a substantial part of the events giving rise to these claims occurred in this judicial
district and a substantial part of Plainti;tf’ s copyrightable property that is the subject of this action
is situated in this judicial district or Was situated in this judicial district at the time Det`endants’

infringement of Plaintifi’ s copyright

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The Parties

5. Plaintiff is a limited liability company organized and existing under the laws of
the State of Kansas, with its current principal place of business and mailing address of 11460
".l`ornahawk Creel< Parkway, Leawood, Kansas 66211. Plaintiff is engaged in the business of
architecture and owns certain copyrights that have been violated by Defendants.

6. On information and belief, defendant Carnegie is a corporation organized under
the laws of the State of Ohio, with its principal place of business in Westlal<:e, Ohio. Carnegie
may be served through its registered agent, Valerie L. Tolbert, 27500 l)etroit Road, Suite 300,
Westlake, Ohio 44145.

7. On information and belief, defendant Fedcar is a limited liability company
organized under the laws of the State of Ohio, with its principal place of business in Westlake,
Ohio, and is a subsidiary of Camegie. Fedcar may be served through its registered agent, George
J. Papandreas, 27500 Detroit Road, 3‘"d Floor, Westiake, Ohio 44145.

8. On information and beiief, defendant RFPA is a professional corporation
organized under the laws of the State of Ohio, with its principal place of business in Cieveland,
Ohio. R_FPA may be Served through its registered agent, Richard Fleishman, 9619 Lal<eshore
Blvd., Bratehahl, Ohio 44108.

9. On information and belief, defendant WRL is a limited liability company
organized under the laws of the State of Ohio, With its principal place of business in Cleveland,
Ohio. WRL may be served through its registered agent, ACl\/IE Agent, lnc., 41 South I-Iigh
Street, Suite 2300, Colnrnbus, Ohio 43215.

Backgronnd Facts

i(). Plaintiff is an architectural firm involved in the design of, among other things,

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buildings for federal agencies

ll. Plaintiff expends considerable time, money, and effort in the design of federal
agency buildings in order to assure that, among other things, the building designs have strong
customer appeal and that the final construction of such buildings is of high quality

12. In March of 2007, a contract for the development of a new FBI field office in
Indianapolis, lndiana (the “new FBI field oftice”) Was awarded by the U.S. General Services
Administration (“GSA”) to a commercial real estate developer out of Kansas City, Missouri
called BC Development Co. (“BC l)eveloprnent”).

13. Plaintiff was hired by BC Development to provide architectural services,
including but not limited to, the preparation of certain design drawings and other architectural
works (collectively referred to as the “arch.itectural works”) for the new FBI field office that was
to be constructed

14. Plaintiff is the author and owner of the architectural works relating to
development of the new FBI field office

15. In or about l\/larch of 2907, Plaintiff published its design of the new FBl field
office

16. After Plaintiff had prepared and published its architectural works, the contract
awarded to BC Development was terminated after BC Developrnent failed to secure its proposed
development site. On information and belief, BC Development was not able to control the site
because Fedcar had an option on adjacent and partially overlapping property that it would not
give up. BC development and Fedcar subsequently entered into negotiations to co~develop the
new FBI field office project as a means to keep the project moving forward During those

negotiations, BC Developrnent requested that Plaintiff provide copies of its architectural Worl<; to

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Fedcar, which it did.

17. After the contract awarded to BC Developrnent was terminated, the GSA then
awarded the contract for construction of the new FBI field office to Dni<e Realty Limited
Partnership (°‘Duke”) in or about December of 2007.

iS. On information and belief, Carnegie, through Fedcar, retained defendants RFPA
and WRL to serve as the architect and engineer, respectively, for the design and development of
the new FBl field office on behalf of Carnegie and Fedcar.

19. Defeiidant Carnegie, through Fedcar, Carnegie’s government real estate arm,
appealed the contract award to Duke.

20. Carnegie and Fedcar were successful in their appeal of the contract award to
Duke. Thereafter, in or about February of 2009, each remaining development team was given
the opportunity to revise their design and provide a Best and Finai Ofi`er (BAFO). On
information and belief, Carnegie, Fedcar, RFPA and WRL revised their proposed design to
incorporate Plaintifi` s design into their BAFO without Plaintifi” s permission or consent

21. Upon information and beiief, in or about March of 2009, Defendants, individually
and/or collectively, copied or utilized elements of Plaintift’s copyrighted architectural work such
that Defendants’ design of the new FBI field office is identical to or substantially similar to
Plaintit`f’ s copyrighted architectural work.

22. Fedcar was subsequently awarded the contract by the GSA in i\/Iarch of 2009.

23. Upon examination of the Defendants’ design in or about April of 2009, Piaintiff

-iearned that its architectural work had heen copied and/or derived t`rorn Plaintist copyrighted
architectural work.

24. On August 7, 2009, the United States Copyright Oft`ice issued Certiticate of

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Registration No. VAU 997-159, relating to Plaintiff’s architectnrai work for the new FBI field
office (hereinafter the “Registered Work”). A copy of the Certificate of Registration is attached
hereto and incorporated herein as Exhibit A.

25. On October 7, 2010, Plaintiff sent correspondence to Defendant Fedcar notifying
it that Plaintiff owns the copyright in the Registered Work, notifying Fedcar that its design of the
new FBI offices was identical or substantially similar to Plaintiff’ s Registered Worl<, requesting
that Fedcar cease and desist from further copying and using Plaintiff’ s Registered Work, and
requesting that Fedcar provide the identities of the architect(s), engineer(s) and developer(s) of
the new FBI field office Fedcar did not respond

26. On Novernber 15, 201{>, Plaintit`f again wrote to Fedcar requesting that it respond
to Plaintifi”s request that Fedcar cease and desist from further copying and use of Plaintiffs
Registered Worl<.

27. Upon information and belief, Defendants have not, to date, stopped using
Plaintiff’ s Registered Work for their own financial and commercial benefit

28. The Registered Worl< contains copyrightable subject matter under the Copyright
Act, 17 U.S.C. § 101 er seq., and constitutes an original work of authorship in literary and

~ graphical works, including, but not limited to architectural works

29. The copyright registration for the Registered Work is valid and enforceable, and

Plaintit`f owns ali right, titie, and interest in and to the copyright in the Registered Work.

COUNT I - COPYRIGHT INFRINGEMENT
C()PYRIGH'I` INFRINGEMENT - 17 U.S.C. § 591

30. Piaintiff adopts and incorporates by reference paragraphs l through 29 as though

fully set forth herein.
31. Plaintiff is, and at ali relevant times has been, the sole owner of ali rights, title,
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and interest in and to the Registered Work.

32. Defendants knowingly and willfully infringed Plaintiff’s exclusive right in its
Registered Work, in violation of the Copyright Act, 17 U.S.C. §lOl el seq., by copying,
reproducing, and displaying Plaintiff’s Registered Work and/or by creating derivative works
based upon Plaintiff s Registered Work.

33. Defendants knew that the infringed Registered Work belonged to Plaintiff, and
their Defendants’ acts of infringement were performed without the consent or authorization of
Plaintiff.

34. Defendants knew or should have known that their acts constituted copyright
infringement

35. As a result of the foregoing, Plaintiff has been damaged by Defendants’ acts of
copyright infringement and will continue to be damaged unless Defendants are enjoined by this
Court.

36. Defendants’ infringing activity, as set for hereinabove has been done knowingly
l and willfully

WHEREFORE, Plaintiff prays that this Court enter an order or decree granting the
following relief:

(a) A declaration that Defendants’ unauthorized conduct violates Plaintiff’ s rights

under the Copyright Act;

(b) injunctive relief against Defendants pursuant to l7 U.S.C. § 502, enjoining and

restraining Defendants from using, copying, reproducing, distributing, marketing,
offering to sell, selling, disposing of, licensing transferring displaying,

advertising or otherwise infringing Plaintiff s copyrighted material;

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An order impounding all originals, copies, facsimiles, or duplicates of Plaintifi` s
copyrighted material made or used by Defendants pursuant to 17 U.S,C. § 503;
An order that Defendants return to Plaintiff any and ali originals, copies,
facsimiles, or dupiicates of Piaintiff’ s copyrighted material in their possession or
under their control and provide to Plaintiff an itemized accounting of all of the
foregoing;

An order requiring that Defendants destroy all electronic media of every kind or
variety containing Piaintiffs copyrighted work or any derivate work thereof;

An award (l) granting Plaintiff actual damages for Defendants’ copyright
infringement in an amount to be determined at trial, -(2) granting Plaintiff damages
for profits of -Defendants attributable to their infringement in an amount to be
determined at trial, or (3) in the alternative, an award of statutory damages for
Defendants’ copyright infringement pursuant to 17 U.S.C. § 504(c), such award
being equal to the maximum amount allowed under the statute for willful
infringement;

An order granting Plaintiff its costs of this action, prejudgment interest, post~
judgment interest, and reasonable attorneys fees in accordance with 17 U.S.C. §
505; and

An order granting Piaintiff all other and further reiief as Plaintiff may show they
are entitled to receive, or which the Court may determine to be just and equitable

under the circumstances

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C{)UNT ll - VICARIOUS COPYRIGHT INFRINGEMENT

37. Plaintiff adopts and incorporates by reference paragraphs l through 36 as though
fully set forth herein

38. On information and belief, individuals or entities engaged by l)efendants in the
design and construction of the new FBI field office directly infringed Plaintiff’ s copyrighted
Registered Work.

39. Defendants had the right and ability to control the infringing activities of the
individuals or entities who directly infringed Plaintiff’ s Registered Work.

40. Defendants obtained a direct financial benefit from the infringing activities of the
individuals or entities who directly infringed Plaintiff` s Registered Work.

41. The acts and conduct of Defendants, as alleged above, constitute vicarious
copyright infringement

42. As a result of Defendants’ vicarious copyright infringement, Plaintiff has been
damaged and will continue to be damaged unless l')efendants are enjoined by this Court.

43. l)efendants’ infringing activity, as set for hereinabove, has been done knowingly
and willfully

WHEREFORE, Plaintit`f prays that this Court enter an order or decree granting the
following relief:

(a) A declaration that Defendants’ unauthorized conduct violates Plaintiff’s rights

under the Copyright Act;
(b) lnjunctive relief against Defendants pursuant to 17 U.S.C. § 502, enjoining and
restraining Defendants from using, copying, reproducing, distributing marketing

offering to sell, selling, disposing of, licensing, transferring displaying

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advertising or otherwise infringing Plaintiff s copyrighted niaterial;

An order impounding all originals, copies, facsimiles, or duplicates of Plaintifi’s
copyrighted material made or used by Defendants pursuant to l7 U.S.C. § 503;

An order that Defendants return to Plaintiff any and all originals, copies,

facsimiles, or duplicates of Plaintift` s copyrighted material in their possession or
under their control and provide to Plaintiff an itemized accounting of all of the‘
foregoing;

An order requiring that Defendants destroy all electronic media of every kind or f
variety containing Piaintiffs copyrighted work or any derivate work thereof;

An award (l) granting Plaintiff actual damages for Defendants’ copyright v
infringement in an amount to be determined at trial, (2) granting Piaintiff damages

for profits of Defendants attributable to their infringement in an amount to be

determined at trial, or (3) in the alternative, an award of statutory damages for

Defendants’ copyright infringement pursuant to 17 U.S.C. § 504(0), such award

being equal to the maximum amount allowed under the statute for willful

infringement

An order granting Plaintiff its costs of this action, pre-judgment interest, post-

judgment interest, and reasonable attorneys fees in accordance with 17 U.S.C. §

505; and

An order granting Plaintiff ali other and further relief as Plaintiff may show they

are entitled to receive, or which the Court rnay determine to be just and equitable

under the circumstances

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BEMAND FOR JURY TRIAL
Plaintiff demands a trial by jury on ali triable issues raised by this Cornplaint.
Respectfully submitted,

NORRIS & KEPLINGER, L.L.C.

By: /s/ Michaei G. Norris
Michael G. Norris, #33416
rnnorris@nkfirm.ccrn
Eric S. Piayter, #5897 5
eplayter@nkfirrn.com
Financial Plaza Il
6800 College Bou.levard, Suite 630
Overland Parl<, Kansas 66211
(913) 663~20()0/(913) 663-2006 (FAX)
ATTORNEYS FOR PLAINTIFF

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